              Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 1 of 28




                               Exhibit 1




{Exhibit.1}
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 2 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 3 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 4 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 5 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 6 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 7 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 8 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 9 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 10 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 11 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 12 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 13 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 14 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 15 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 16 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 17 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 18 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 19 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 20 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 21 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 22 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 23 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 24 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 25 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 26 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 27 of 28
Case 1:17-cv-12360-GAO Document 1-1 Filed 12/01/17 Page 28 of 28
